           Case 1:15-cv-13617-FDS Document 13 Filed 02/29/16 Page 1 of 4



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                     )               Civil Action No. 15-cv-13617-FDS
C.D., by and through her PARENTS AND )
NEXT FRIENDS, M.D. and P.D.          )
                                     )
                      Plaintiffs,    )
v.                                   )
                                     )
NATICK PUBLIC SCHOOL DISTRICT )
and                                  )
BUREAU OF SPECIAL EDUCATION          )
APPEALS,                             )
                                     )
                      Defendants.    )
____________________________________)


                                     JOINT STATEMENT

        Pursuant to Local Rule 16.1, the parties respectfully submit the following:

I.      Statement Pursuant to Local Rule 16.1(B)

        Counsel for the parties have conferred pursuant to Local Rule 16.1(b) for the purpose of:

(1) preparing a proposed pretrial schedule; and (2) considering whether they will consent to trial

by magistrate judge.

II.     Statement Pursuant to Local Rule 16.1(C)

        Plaintiffs, M.D. and P.D., individually and on behalf of C.D. (Parents) presented the

Natick Public Schools (Natick) with a timely written settlement proposal. Natick will respond to

the settlement offer as required. The Bureau of Special Education Appeals (BSEA) takes the

position that because the claims against it is an appeal from the BSEA’s decision in Student v.

Natick Public Schools, BSEA No. 1408860, any settlement proposal is not addressed to and does

not apply to it.
907033v1
909087v1
909150v1
           Case 1:15-cv-13617-FDS Document 13 Filed 02/29/16 Page 2 of 4



III.   Joint Statement Pursuant to Local Rule 16.1(D)

       A. Summary of Positions

            a. Plaintiff Parents’ Position.

       The Plaintiff Parents are aggrieved by the BSEA’s decision because it is based upon

mistakes of fact and errors of law, was made upon unlawful procedures, was not supported by a

preponderance of the evidence, was unwarranted by the facts in the record, biased, arbitrary and

capricious and an abuse of discretion. Contrary to the BSEA decision, Natick failed to provide

their daughter C.D. with a free appropriate public education in the least restrictive environment

during the 2012-2013, 2013-2014, and 2014-2015 school years, and committed procedural

violations which resulted in denying C.D. a free appropriate public education in the least

restrictive environment.

            b. Natick Public Schools’ Position.

       The BSEA decision which is the subject of this action for judicial review is supported by

the evidence in the administrative record and is consistent with both federal and state law.

Moreover, as the BSEA found, the IEPs Natick proposed for the 2012-2013, 2013-2014, and

2014-2015 school years were reasonably calculated to provide C.D. with a free appropriate

public education in the least restrictive environment and there were no procedural violations that

resulted in a denial of a free appropriate public education.

            c. The Bureau of Special Education Appeals’ Position.

       The BSEA decision which is the subject of this action for judicial review is supported by

the evidence in the administrative record and is consistent with both federal and state law.




907033v1
909087v1
909150v1
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           Case 1:15-cv-13617-FDS Document 13 Filed 02/29/16 Page 3 of 4




       B. Proposed Pretrial Schedule

            a. The parties agree that the Rules exempt actions for judicial review based on the

administrative record from the requirement of Initial Disclosures. See Federal Rules of Civil

Procedure, Rule 26(a)(1)(B)(i). This proceeding is exempt from Initial Disclosures because the

plaintiff is appealing from a decision made of the BSEA, an appeal which is generally decided

upon the administrative record. See 20 U.S.C. §1415(i)(2)). The BSEA expects to submit the

administrative record for filing on April 8, 2016.

            b. Plaintiff Parents’ Propose Pretrial Schedule

               i. Written discovery requests are to be filed by April 8, 2016 and

answers/responses are to be filed in accordance with the rules thereafter;

               ii. Motions to supplement the record are to be filed by May 8, 2016;

               iii. Responses to motions to supplement the record are to be filed by June 8, 2016;

               iv. Replies to motions to supplement the record are to be filed by June 28, 2016;

               v. Dispositive motions are to be filed by July 8, 2016;

               vi. Oppositions to dispositive motions to be filed by July 28, 2016

            c. Defendants’ Proposed Pretrial Schedule

            The defendants do not agree that discovery is appropriate in this case. They propose

the following schedule:

               i. The parties will file and serve dispositive motions on or before June 1, 2016;

               ii. The parties will file and serve their oppositions by July 1, 2016;

               iii. The parties will file and serve any replies by July 22, 2016.



907033v1
909087v1
909150v1
                                                 -3-
           Case 1:15-cv-13617-FDS Document 13 Filed 02/29/16 Page 4 of 4




IV.    Judicial Assignment

       The parties wish to have the case heard as currently assigned.

V.     Local Rule 16.1(D)(3) Certifications

       The certificates of the parties and counsel required by Local Rule 16.1(D)(3) will be filed

separately.

       DATED this 29th day of February 2016.

C.D., by and through her PARENTS AND                 NATICK PUBLIC SCHOOLS,
NEXT FRIENDS, M.D. and P.D.
By their attorney,                                   By its attorney,

/s/ Laurie R. Martucci                               /s/ Doris R. MacKenzie Ehrens
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                                                     BUREAU OF SPECIAL EDUCATION
                                                     APPEALS,
                                                     By its attorney,

                                                     MARTHA COAKLEY
                                                     ATTORNEY GENERAL

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